                 Case 2:20-cv-00730-BJR Document 11 Filed 09/14/20 Page 1 of 2



 1                                                  THE HONORABLE BARBARA J. ROTHSTEIN
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9
     HIRBOD H. ROWSHAN DDS, P.S.,                          NO. 2:20-cv-00730-BJR
10   individually and on behalf of all others similarly
     situated,                                             ORDER GRANTING STIPULATED
11                                                         MOTION TO EXTEND COMPLAINT
                     Plaintiff,                            RESPONSE DEADLINE
12
            v.                                             NOTING DATE: SEPTEMBER 8, 2020
13                                                         WITHOUT ORAL ARGUMENT
     OHIO SECURITY INSURANCE COMPANY,
14
                     Defendant.
15

16          THIS MATTER came before this Court upon the parties’ Stipulated Motion to Extend
17   Complaint Response Deadline. Having reviewed the motion, being fully advised on the matter,
18   and for good cause shown, IT IS HEREBY ORDERED that the Stipulated Motion is GRANTED.
19   Defendant’s deadline to answer, move, or otherwise plead in response to Plaintiff’s Class Action
20   Complaint is September 16, 2020.
21
            DATED this 14th day of September, 2020.
22

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24                                                        A
                                                          Barbara Jacobs Rothstein
25
                                                          U.S. District Court Judge
26

27
      ORDER GRANTING STIPULATED MOTION                                BAKER & HOSTETLER LLP
      TO EXTEND COMPLAINT RESPONSE                                    999 Third Avenue, Suite 3900
      DEADLINE                                                        Seattle, WA 98104-4040
      (Case No. 2:20-CV-00730-BJR)                                    Telephone: (206) 332-1380
               Case 2:20-cv-00730-BJR Document 11 Filed 09/14/20 Page 2 of 2



 1   Presented by,

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21   Attorneys for Plaintiff

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